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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF
                             IOWA CENTRAL DIVISION

RONDA QUINN,
                                                     Civil Action No.
                    Plaintiff;

vs.                                                  COMPLAINT and DEMAND FOR
                                                     JURY TRIAL
HAUGE ASSOCIATES, INC.,


                    Defendants.


      COMES NOW the Plaintiff, Ronda Quinn, by and through her attorney Samuel Z.

Marks, and for her Complaint against the Defendant, Hauge Associates, Inc., states as

follows:

                                   I.     INTRODUCTION
1. This is an action for damages brought by an individual consumer against Hauge

      Associates, Inc. (hereinafter “Hauge”) for violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692, et seq, (hereinafter “FDCPA”) which prohibits debt

      collectors from engaging in abusive, deceptive, and unfair collection practices.

2. This action for damages is also brought by an individual consumer against Hauge for

      violations of the Iowa Debt Collections Practices Act Iowa Code § 537.7103

      (hereinafter “IDCPA”) which prohibits debt collectors from engaging in abusive,

      deceptive, and unfair collection practices.

                             II.   JURISDICTION AND VENUE
3. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) (FDCPA) and 28 U.S.C. §

      1331. The court further has jurisdiction to hear the Plaintiff’s IDCPA claim pursuant to

      28 U.S.C. § 1367(a).

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4. Venue in this District is proper under 28 U.S.C. § 1391 as a substantial part of the

    events or omissions giving rise to the claim occurred in Polk County, Iowa.



                                    III.    PARTIES
5. Plaintiff, Ronda Quinn, (hereinafter “Quinn”) is a natural person residing in Polk

    County, Iowa and is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3) and

    a “debtor” as that term is defined in Iowa Code § 537.7102(6).

6. Hauge is registered to do business in the state of Iowa and has a registered agent of

    Randy Waagmeester located at 204 1st Ave, Rock Rapids, IA 51246.

7. Hauge is a “debt collector” as defined at Iowa Code § 537.7102(5) and 15 U.S.C. §

    1692a(6).

                          IV.     FACTUAL ALLEGATIONS

8. On January 23, 2018, Quinn filed for Bankruptcy relief under Chapter 7 of Title 11 of

   the United States Code (Bankruptcy Code) in the United States Bankruptcy Court for

   the Southern District of Iowa. Said filing was assigned case number 18-00137.

9. At the time that the bankruptcy was filed an Order for Automatic Stay was entered

   which barred all creditors from attempting to collect on debts included in the

   Bankruptcy Petition or contact Quinn directly concerning these debts.

10. Quinn included Hauge as a creditor on Schedule E/F of her Bankruptcy Petition.

11. Quinn received a letter dated January 29, 2018 attempting to collect an alleged debt

    (hereinafter “the debt”) from Hauge. The letter was sent in a deceptive manner by

    using an envelope that did not disclose who the letter was from.




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12. At the time the letter was sent Defendants were aware that Quinn was represented by

   counsel with respect to the debt, but contacted Quinn directly instead of through

   counsel.

13. The letter misrepresented the nature of the debt currently included in a pending

   bankruptcy by stating that they may garnish her wages or bank accounts.

14. The letter further misrepresented that a balance of $1,642.07 was due.

15. These attempts to collect a debt are in direct violation of the automatic stay issued by

   the Bankruptcy Court pursuant to 11 U.S.C. § 362(a).

                             V.    CAUSES OF ACTION

        FIRST CLAIM FOR RELIEF: VIOLATIONS OF THE FAIR DEBT
            COLLECTION PRACTICES ACT, 15 U.S.C. § 1692 et seq.

16. The Plaintiff incorporates by reference all the above paragraphs of this Complaint as

   though fully stated herein.

17. Hauge through the foregoing intentional and negligent acts and omissions, violated

   multiple provisions of the FDCPA including, but not limited to, the following

   provisions of the FDCPA, 15 U.S.C. § 1692 et seq.:

           a. 1692(c)(a)(2) Hauge communicated with the Plaintiff and without the prior

               consent of the Plaintiff or the express permission of a court of competent

               jurisdiction. Hauge was not permitted to communicate with the Plaintiff in

               connection with the collection of the debt, since Hauge knew the Plaintiff

               was represented by an attorney with respect to the debt and had knowledge

               of, or could readily ascertain, such attorney’s name and address. Further

               Hauge communicated with the Plaintiff when barred by 11 U.S.C. § 362(a);




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          b. 1692e(2)(A) Hauge made a false representation of the character, amount, or

              legal status of the debt;

          c. 1692e(5) Hauge threatened to take an action that cannot legally be taken or

              that is not intended to be taken;

          d. 1692e(10) Hauge attempted to collect the debt through false representation

              or deceptive means;

          e. 1692f Hauge used unfair or unconscionable means to collect or attempt to

              collect any debt; and

          f. 1692f(1) Hauge attempted to collect any amount not expressly authorized

              by the agreement creating the debt or permitted by law.

18. As a result of each and every violation from Defendant of the FDCPA, Plaintiff is

   entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

   an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable

   attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant herein.

   WHEREFORE, Quinn prays that judgment be entered against Hauge as follows:

          a. For an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

          b. For an award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §

              1692k(a)(2)(A);

          c. For an award of costs of litigation and reasonable attorney’s fees pursuant

              to 15 U.S.C. § 1692k(a)(3); and

          d. For such other and further relief as may be just and proper.


         SECOND CLAIM FOR RELIEF: VIOLATIONS OF THE IOWA DEBT
             COLLECTION PRACTICES ACT, IOWA CODE § 537.7103



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19. The Plaintiff incorporates by reference all the above paragraphs of this Complaint as

   though fully stated herein.

20. Defendant through the foregoing intentional and negligent acts and omissions, violated

   multiple provisions of the IDCPA including, but not limited to, the following

   provisions of the Iowa Code § 537.7103:


           a. 537.7103(1)(f) Hauge took an action or threatened to take an action to

              collect the debt prohibited by this chapter or any other law;

           b. 537.7103(4)(e) Hauge made a fraudulent, deceptive, or misleading

              representation or means to collect or attempt to collect a debt through an

              intentional misrepresentation, or a representation which tends to create a

              false impression of the character, extent or amount of a debt, or of its status

              in a legal proceeding;

           c. 537.7103(5)(e) Hauge communicated with the Plaintiff to collect the debt

              when Hauge knew that the Plaintiff was represented by an attorney and the

              attorney’s name and address were known, or could be easily ascertained.


 21. As a result of each and every violation by Hauge of the IDCPA, Plaintiff is entitled

       to actual damages pursuant to Iowa Code § 537.5201(1)(y); statutory damages in

       an amount between $100 and $1,000.00 pursuant to Iowa Code § 537.5201(1)(y);

       and, reasonable attorney’s fees and costs pursuant to Iowa Code § 537.5201(8)

       from Hauge herein.

    WHEREFORE, Plaintiff prays that judgment be entered against Defendant as

follows:



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            a. For an award of actual damages for Hauge’s violations of the IDCPA

                pursuant to Iowa Code § 537.5201(1)(y);

            b. For an award of statutory damages of $1000.00 for Hauge’s violations of

                the IDCPA pursuant to Iowa Code § 537.5201(1)(y);

            c. For an award of award of the costs of this action and reasonable attorney

                fees for Hauge’s violations of the IDCPA pursuant to Iowa Code §

                537.5201(8); and

            d. For such other and further relief as may be just and proper.

                                   VI.     JURY DEMAND

The Plaintiff respectfully requests a trial by jury.




                                                       MARKS LAW FIRM, P.C.


                                                       /s/ Samuel Z. Marks_______
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